  Case 22-19018-CMG                Doc 31 Filed 05/06/23 Entered 05/07/23 00:14:36                                Desc Imaged
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Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 22−19018−CMG
                                         Chapter: 13
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Matthew Scott Anderson                                   Krista Ann Anderson
   413 Cotton Street                                        413 Cotton Street
   South Plainfield, NJ 07080                               South Plainfield, NJ 07080
Social Security No.:
   xxx−xx−2252                                              xxx−xx−9330
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


       NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case
as to the:
       Debtor and Joint Debtor was entered on May 4, 2023.

       Any discharge which was granted as to the above mentioned debtor(s) in this case is vacated. All outstanding
fees to the Court incurred by the dismissed debtor(s) are due and owing and must be paid within seven (7) days from
the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: May 4, 2023
JAN: dmi

                                                                 Jeanne Naughton
                                                                 Clerk
      Case 22-19018-CMG                      Doc 31 Filed 05/06/23 Entered 05/07/23 00:14:36                                              Desc Imaged
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-19018-CMG
Matthew Scott Anderson                                                                                                 Chapter 13
Krista Ann Anderson
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: May 04, 2023                                               Form ID: 148                                                              Total Noticed: 62
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 06, 2023:
Recip ID                   Recipient Name and Address
db/jdb                 +   Matthew Scott Anderson, Krista Ann Anderson, 413 Cotton Street, South Plainfield, NJ 07080-4417
519763891              +   Credit Corp Solutions, 404 Camino del Rio S #400, San Diego, CA 92108-3588
519763892              +   Envision Physician Services, PO Box 8710, Pompano Beach, FL 33075-8710
519773915              +   FROST ARNETT AGT FOR NEW JERSEY HEALTHCARE SPECIAL, PO BOX 198988, NASHVILLE, TN 37219-8988
519763895              +   Hackensack Meridian Health JFK Med Cente, PO Box 95000-7705, Philadelphia, PA 19195-0001
519763900              +   M. U. Rehman MD P, C,, PO Box 1135, Piscataway, NJ 08855-1135
519763902              +   Mary Benedickson, 413 Cotton Street, South Plainfield, NJ 07080-4417
519763903              +   Merck Employ, 126 E Lincoln Ave, Rahway, NJ 07065-4607
519763905              +   Merck Rahw, 126 E Lincoln Ave, Rahway, NJ 07065-4607
519763915              +   Shellpoint Mortgage Servicing, 413 Cotton Street, South Plainfield, NJ 07080-4417
519826752              +   State of New Jersey, Department of the Treasury, Division of Taxation, PO Box 245, Trenton, NJ 08695-0245
519763923              +   University Childrens's Eye Center, 4 Cornwall Court, East Brunswick, NJ 08816-3357
519763928              +   Wf/raymour, Po Box 14517, Des Moines, IA 50306-3517

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        May 04 2023 20:38:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        May 04 2023 20:38:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + Email/Text: merckefcu@merckefcu.com
                                                                                        May 04 2023 20:37:00      Merck Employees Federal Credit Union, 126 E.
                                                                                                                  Lincoln Avenue, Rahway, NJ 07065-4607
519769360                  Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        May 04 2023 20:38:00      American Honda Finance Corporation, National
                                                                                                                  Bankruptcy Center, P.O. Box 168088, Irving, TX
                                                                                                                  75016-8088
519763882              + Email/Text: bncnotifications@pheaa.org
                                                                                        May 04 2023 20:37:00      Aes/navient, Pob 61047, Harrisburg, PA
                                                                                                                  17106-1047
519763883              + Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        May 04 2023 20:38:00      Ahf, Po Box 168128, Irving, TX 75016-8128
519763884              + Email/PDF: bncnotices@becket-lee.com
                                                                                        May 04 2023 20:51:21      Amex, P.o. Box 981537, El Paso, TX 79998-1537
519763885              + EDI: BANKAMER.COM
                                                                                        May 05 2023 00:24:00      Bank Of America, Po Box 982238, El Paso, TX
                                                                                                                  79998-2238
519763886              + EDI: BANKAMER.COM
                                                                                        May 05 2023 00:24:00      Bank Of America, N.a., Po Box 45144,
                                                                                                                  Jacksonville, FL 32232-5144
519763887              + EDI: TSYS2
                                                                                        May 05 2023 00:24:00      Barclays Bank Delaware, P.o. Box 8803,
                                                                                                                  Wilmington, DE 19899-8803
519763888              + EDI: CITICORP.COM
                                                                                        May 05 2023 00:24:00      Bloomingdales/citibank, Po Box 6789, Sioux
                                                                                                                  Falls, SD 57117-6789
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District/off: 0312-3                                         User: admin                                                         Page 2 of 4
Date Rcvd: May 04, 2023                                      Form ID: 148                                                      Total Noticed: 62
519763889       + Email/Text: clientservices@credit-control.com
                                                                            May 04 2023 20:38:00   Central Loan Admin & R, Po Box 77404, Ewing,
                                                                                                   NJ 08628-6404
519763890       + EDI: WFNNB.COM
                                                                            May 05 2023 00:24:00   Comenity Bank/lnbryant, Po Box 182789,
                                                                                                   Columbus, OH 43218-2789
519763894         Email/Text: bankruptcy@frost-arnett.com
                                                                            May 04 2023 20:36:00   Frost - Arnett Company, PO Box 198988,
                                                                                                   Nashville, TN 37219
519763893       + Email/Text: EBNBKNOT@ford.com
                                                                            May 04 2023 20:38:00   Ford Motor Credit Comp, Pob 542000, Omaha,
                                                                                                   NE 68154-8000
519763896       + EDI: IRS.COM
                                                                            May 05 2023 00:24:00   Internal Revenue Service, P.O Box 7346,
                                                                                                   Philadelphia, PA 19101-7346
519763898         EDI: JPMORGANCHASE
                                                                            May 05 2023 00:24:00   Jpmcb Card, Po Box 15369, Wilmington, DE
                                                                                                   19850
519763897       + EDI: PHINGENESIS
                                                                            May 05 2023 00:24:00   Jared-galleria/genesis, Po Box 4485, Beaverton,
                                                                                                   OR 97076-4485
519763899       + Email/Text: PBNCNotifications@peritusservices.com
                                                                            May 04 2023 20:36:00   Kohls/capone, Po Box 3115, Milwaukee, WI
                                                                                                   53201-3115
519790232         Email/PDF: resurgentbknotifications@resurgent.com
                                                                            May 04 2023 20:39:31   LVNV Funding LLC, Resurgent Capital Services,
                                                                                                   PO Box 10587, Greenville, SC 29603-0587
519763901       + EDI: CITICORP.COM
                                                                            May 05 2023 00:24:00   Macys/cbna, Po Box 6789, Sioux Falls, SD
                                                                                                   57117-6789
519763904       + Email/Text: merckefcu@merckefcu.com
                                                                            May 04 2023 20:37:00   Merck Employees FCU, 126 E Lincoln Avenue,
                                                                                                   Rahway, NJ 07065-4607
519763906       + Email/Text: bankruptcydpt@mcmcg.com
                                                                            May 04 2023 20:38:00   Midland Credit Management, 350 Camino De La
                                                                                                   Reina, Suite 100, San Diego, CA 92108-3007
519763907       + EDI: NAVIENTFKASMSERV.COM
                                                                            May 05 2023 00:24:00   Navient, Po Box 9500, Wilkes Barre, PA
                                                                                                   18773-9500
519763908       + Email/Text: electronicbkydocs@nelnet.net
                                                                            May 04 2023 20:38:00   Nelnet Lns, Po Box 82561, Lincoln, NE
                                                                                                   68501-2561
519810386       + Email/Text: mtgbk@shellpointmtg.com
                                                                            May 04 2023 20:37:00   NewRez LLC dba Shellpoint Mortgage Servicing,
                                                                                                   PO Box 10826, Greenville, SC 29603-0826
519789919         EDI: PRA.COM
                                                                            May 05 2023 00:24:00   Portfolio Recovery Associates, LLC, c/o
                                                                                                   Synchrony Bank, POB 41067, Norfolk VA 23541
519763910       + EDI: PRA.COM
                                                                            May 05 2023 00:24:00   Portfolio Recov Assoc, 120 Corporate Blvd Ste
                                                                                                   100, Norfolk, VA 23502-4952
519803959         EDI: Q3G.COM
                                                                            May 05 2023 00:24:00   Quantum3 Group LLC as agent for, Crown Asset
                                                                                                   Management LLC, PO Box 788, Kirkland, WA
                                                                                                   98083-0788
519774641         EDI: Q3G.COM
                                                                            May 05 2023 00:24:00   Quantum3 Group LLC as agent for, Credit Corp
                                                                                                   Solutions Inc, PO Box 788, Kirkland, WA
                                                                                                   98083-0788
519763911       + Email/Text: clientservices@remexinc.com
                                                                            May 04 2023 20:37:00   Remex , Inc, PO Box 457, Rocky Hill, NJ
                                                                                                   08553-0457
519763912       + Email/Text: clientservices@remexinc.com
                                                                            May 04 2023 20:37:00   Remex Inc, 307 Wall Street, Princeton, NJ
                                                                                                   08540-1515
519763909         Email/Text: NJTax.BNCnoticeonly@treas.nj.gov
                                                                            May 04 2023 20:37:00   NJ Division of Taxation, 50 Barrack Street,
                                                                                                   Trenton, NJ 08695-0245
519763913       + Email/Text: bankruptcy@savit.com
                                                                            May 04 2023 20:38:00   Sa-vit Collection Agen, Po Box 250, East
                                                                                                   Brunswick, NJ 08816-0250
519763914       + EDI: CITICORP.COM
                                                                            May 05 2023 00:24:00   Sears/cbna, Po Box 6217, Sioux Falls, SD
                                                                                                   57117-6217
519763916       + Email/Text: clientservices@simonsagency.com
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Date Rcvd: May 04, 2023                                           Form ID: 148                                                          Total Noticed: 62
                                                                                   May 04 2023 20:38:00     Simons Agency Inc, 4963 Wintersweet Dr,
                                                                                                            Liverpool, NY 13088-2176
519763917             + EDI: RMSC.COM
                                                                                   May 05 2023 00:24:00     Syncb/floor, C/o Po Box 965036, Orlando, FL
                                                                                                            32896-0001
519763918             + EDI: RMSC.COM
                                                                                   May 05 2023 00:24:00     Syncb/lin, Po Box 965005, Orlando, FL
                                                                                                            32896-5005
519763919             + EDI: RMSC.COM
                                                                                   May 05 2023 00:24:00     Syncb/lowes, Po Box 956005, Orlando, FL
                                                                                                            32896-0001
519763920             + EDI: RMSC.COM
                                                                                   May 05 2023 00:24:00     Syncb/mc, Po Box 965005, Orlando, FL
                                                                                                            32896-5005
519763921             + EDI: RMSC.COM
                                                                                   May 05 2023 00:24:00     Syncb/pcri, C/o Po Box 965036, Orlando, FL
                                                                                                            32896-0001
519765544             + EDI: RMSC.COM
                                                                                   May 05 2023 00:24:00     Synchrony Bank, c/o of PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021
519763922             + EDI: WTRRNBANK.COM
                                                                                   May 05 2023 00:24:00     Td Bank Usa/targetcred, Po Box 673, Minneapolis,
                                                                                                            MN 55440-0673
519811312             + EDI: AIS.COM
                                                                                   May 05 2023 00:24:00     Verizon, by American InfoSource as agent, 4515
                                                                                                            N Santa Fe Ave, Oklahoma City, OK 73118-7901
519763925             + EDI: WFFC2
                                                                                   May 05 2023 00:24:00     Wells Fargo, Po Box 71092, Charlotte, NC
                                                                                                            28272-1092
519763924             + EDI: WFFC2
                                                                                   May 05 2023 00:24:00     Wells Fargo, Po Box 14517, Des Moines, IA
                                                                                                            50306-3517
519763926             + EDI: WFFC2
                                                                                   May 05 2023 00:24:00     Wells Fargo Bank Nv Na, Po Box 10335, Des
                                                                                                            Moines, IA 50306-0335
519808736                EDI: WFFC2
                                                                                   May 05 2023 00:24:00     Wells Fargo Bank, N.A., PO Box 10438, MAC
                                                                                                            F8235-02F, Des Moines, IA 50306-0438
519763927             + EDI: WFFC2
                                                                                   May 05 2023 00:24:00     Wells Fargo Hm Mortgag, Po Box 10335, Des
                                                                                                            Moines, IA 50306-0335

TOTAL: 49


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 06, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 4, 2023 at the address(es) listed below:
      Case 22-19018-CMG            Doc 31 Filed 05/06/23 Entered 05/07/23 00:14:36                                    Desc Imaged
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Date Rcvd: May 04, 2023                                    Form ID: 148                                                     Total Noticed: 62
Name                      Email Address
Albert Russo
                          docs@russotrustee.com

Allison J. Kiffin
                          on behalf of Creditor Merck Employees Federal Credit Union collections@peterliska.com

John Anthony Monari
                          on behalf of Creditor NewRez LLC dba Shellpoint Mortgage Servicing jmonari@pincuslaw.com brausch@pincuslaw.com

Steven J Sico
                          on behalf of Joint Debtor Krista Ann Anderson sjs@stevensico.com
                          stevensico@gmail.com;casedriverecf@casedriver.com;signilmel@gmail.com;3295273420@filings.docketbird.com;sico.stevenr98
                          032@notify.bestcase.com

Steven J Sico
                          on behalf of Debtor Matthew Scott Anderson sjs@stevensico.com
                          stevensico@gmail.com;casedriverecf@casedriver.com;signilmel@gmail.com;3295273420@filings.docketbird.com;sico.stevenr98
                          032@notify.bestcase.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov

Valerie A. Hamilton
                          on behalf of Creditor New Jersey Division Of Taxation Valerie.Hamilton@law.njoag.gov


TOTAL: 7
